        Case 1:21-cv-04628-DCF Document 10 Filed 10/29/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KOAMI AGBALENYO,

                    Plaintiff,
                                                              ORDER
             -against-
                                                         21 Civ. 4628 (PGG)
KEVIN JAY EVANS and CONTINENTAL
LOGISTICS SERVICES,

                    Defendants,


PAUL G. GARDEPHE, U.S.D.J.:

             The conference currently scheduled for November 12, 2021 is adjourned to

November 16, 2021 at 11:30 a.m.

Dated: New York, New York
       October 29, 2021
